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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                (LOUISVILLE DIVISION)




 COURTNEY WAY                                                                        PLAINTIFF

 v.                                                       CASE NO.: 3:21-cv-00763-DJH-RSE


 GLA COLLECTION CO., INC. et al.                                                  DEFENDANTS

                              AGREED ORDER OF DISMISSAL
        Upon agreement of the Plaintiff, Courtney Way, and the Defendant, Experian Information

 Solutions, Inc. (“Experian”), each by counsel, and the Court being otherwise sufficiently advised;

        IT IS HEREBY ORDERED that Plaintiff’s claims asserted in this litigation against

 Experian are hereby DISMISSED WITH PREJUDICE, each party to bear its own attorneys’ fees

 and costs.

 Respectfully Submitted

 /s/ David W. Hemminger
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 /s/Christopher P. Farris (with permission)
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 20th day of May, 2022, I electronically filed the foregoing with
 the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing
 to all parties of record.

                                               /s/David W. Hemminger
                                               David W. Hemminger
